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                EXHIBIT A
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     List of Pending Allina II-Type Cases that the Secretary May Seek to Consolidate
                                    (as of July 10, 2019)

1.       Albert Einstein Medical Center v. Azar, 17-1134 (D.D.C.) (ABJ) and consolidated
         cases, as follows:

         Aria Health v. Azar, 17-1402 (D.D.C.) (ABJ)
         Bedford Memorial Hosp. v. Azar, 17-1471 (ABJ)
         Adcare Hospital v. Azar, 17-1896 (D.D.C.) (ABJ)
         St. Mary’s Health Care Sys. v. Azar, 17-2106 (D.D.C.) (ABJ)
         Cartersville Medical Center v. Azar, 17-2696 (D.D.C.) (ABJ)
         Banner Health v. Azar, 18-275 (D.D.C.) (ABJ)
         Central Florida Regional Hospital v. Azar, 18-286 (D.D.C.) (ABJ)
         Baptist Hospital v. Azar, 1:18-cv-00404 (D.D.C) (ABJ)
         Legacy Emanuel Hosp. v. Azar, 18-695 (D.D.C.) (ABJ)
         Coastal Carolina Med. Center v. Azar, 18-970 (D.D.C.) (ABJ)
         Doctors Hospital of Augusta v. Azar, 18-829 (ABJ)
         Grady Mem’l Hosp. v. Azar, 18-1126 (D.D.C.) (ABJ)
         Fort Sanders Reg’l Med. Ctr. v. Azar, 18-1155 (D.D.C.) (ABJ)
         East Carolina Health v. Azar, 18-1571 (D.D.C.) (ABJ)
         Coliseum Medical Center v. Azar, 18-1845 (D.D.C.) (ABJ)
         Berkshire Medical Center v. Azar, 18-2404 (D.D.C.) (ABJ)
         Palm Beach Gardens Community Hospital v. Azar, 18-2736 (D.D.C.) (ABJ)
         Alameda County Medical Center v. Azar, 18-2967 (D.D.C.) (ABJ)
         Care New England Health System v. Azar, 19-63 (D.D.C.) (ABJ)
         Antelope Valley Hospital v. Azar, 19-328 (D.D.C.) (ABJ)
         Banner Health v. Azar, 19-896 (D.D.C.) (ABJ)
         Harrison Medical Center v. Azar, 19-964 (D.D.C.) (ABJ)
         Fort Loudoun Medical Center v. Azar, 19-1361 (D.D.C.) (ABJ)
         Homestead Hospital, Inc. v. Azar, 19-1362 (D.D.C.) (ABJ)
         Lourdes Medical Center of Burlington County v. Azar, 19-1514 (D.D.C.) (ABJ)
         East Cooper Community Hospital, Inc. v. Azar, 19-1534 (D.D.C.) (ABJ)

2.       Florida Health Sciences Ctr. v. Azar, 17-1751 (D.D.C.) (RC)
3.       Baptist Mem’l Hosp. v. Azar, 17-1968 (D.D.C.) (EGS)
4.       Menifee Valley Med. Ctr. v. Azar, 17-2029 (D.D.C.) (EGS)
5.       Albany Medical Center Hospital v. Azar, 17-2668 (D.D.C.) (JDB)
6.       Adventist Bolingbrook Hospital v. Azar, 17-2683 (D.D.C.) (BAH)
7.       Anderson Hospital v. Azar, 17-2749 (D.D.C.) (RC)
8.       Advocate Christ Hospital v. Azar, 17-2321 (D.D.C.) (RC)
9.       St. Agnes Medical Center v. Azar, 18-222 (D.D.C.) (CRC) and consolidated cases, as
         follows:

         Methodist Medical Center of Illinois v. Azar, 18-1248 (D.D.C.) (CRC)
         Advocate Christ Medical Center v. Azar, 18-1385 (D.D.C.) (CRC)
         Beebe Medical Center v. Azar, 18-1613 (D.D.C.) (CRC)
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       Allen Memorial Hospital v. Azar, 18-2171 (D.D.C.) (CRC)
       Hackensack University Medical Center v. Azar, 19-670 (D.D.C.) (CRC)
       Nyack Hospital v. Azar, 19-1008 (D.D.C.) (CRC)
       University of Washington Medical Center v. Azar, 19-1104 (D.D.C.) (CRC)
       Houston Methodist Hospital v. Azar, 19-1150 (D.D.C.) (CRC)
       Maine Coast Memorial Hospital v. Azar, 19-1181 (D.D.C.) (CRC)
       Ascension Via Christi Hospital v. Azar, 19-1216 (D.D.C.) (CRC)
       Providence Saint Peter Hospital v. Azar, 19-1363 (D.D.C.) (CRC)
       Southern Maine Medical Center v. Azar, 19-1366 (D.D.C.) (CRC)
       Barnes-Jewish Hospital v. Azar, 19-1445 (D.D.C.) (CRC)
       Ruby Memorial Hospital v. Azar, 19-1600 (D.D.C.) (CRC)

10.    Atrium Medical Center v. Azar, 18-266 (D.D.C.) (RC)
11.    Alhambra Hospital and Medical Center v. Azar, 18-590 (D.D.C.) (BAH)
12.    Shannon Med. Center v. Azar, 18-799 (D.D.C.) (DLF)
13.    Alamance Regional Medical Center v. Azar, 18-936 (D.D.C.) (JDB)
14.    Alta Los Angeles Hospitals, Inc. v. Azar, 18-934 (D.D.C.) (RJL)
15.    Alliance Community Hospital v. Azar, 18-972 (D.D.C.) (DLF)
16.    Covenant Medical Center v. Azar, 18-1330 (D.D.C.) (BAH)
17.    E.A. Conway Medical Center v. Azar, 18-1415 (D.D.C.) (DLF)
18.    AHS Cushing Hospital v. Azar, 18-1454 (D.D.C.) (DLF)
19.    Arizona Regional Medical Center v. Azar, 18-1367 (D.D.C.) (BAH)
20.    Edward W. Sparrow Hospital v. Azar, 18-1689 (D.D.C.) (RMC)
21.    Yale-New Haven Hospital v. Azar, 18-1718 (D.D.C.) (ESH)
22.    Affinity Hospital v. Azar, 18-1956 (D.D.C.) (APM)
23.    Atrium Medical Center v. Azar, 18-1993 (D.D.C.) (RC)
24.    Jefferson Parish Hospital Service District No. 2 v. Azar, 18-2039 (D.D.C.) (DLF)
25.    Affinity Hospital v. Azar, 18-2110 (D.D.C.) (APM)
26.    Aiken Regional Medical Centers v. Azar, 18-cv-02173 (D.D.C.) (RCL)
27.    Bon Secours Depaul Medical Center v. Azar, 18-2285 (D.D.C.) (JEB)
28.    Brooks Memorial Hospital v. Azar, 18-2705 (D.D.C.) (JDB)
29.    Methodist Healthcare-Memphis Hospitals v. Azar, 18-2801 (D.D.C.) (RC)
30.    Long Beach Memorial Medical Center v. Azar, 18-3040 (D.D.C.) (APM)
31.    Atrium Medical Center v. Azar, 19-410 (D.D.C.) (RC)
32.    Lehigh Regional Medical Center v. Azar, 19-1014 (D.D.C.) (BAH)
33.    Flower Hospital v. Azar, 19-1046 (D.D.C.) (BAH)
34.    Hollywood Presbyterian Medical Center v. Azar, 19-1038 (D.D.C.) (BAH)
35.    Shannon Medical Center v. Azar, 19-1051 (D.D.C.) (BAH)
36.    Fresno Community Hospital and Medical Center v. Azar, 19-1224 (D.D.C.) (CJN)
37.    University of North Carolina Hospitals at Chapel Hill v. Azar, 19-1356 (D.D.C.)
       (APM)
38.    Alvarado Hospital Medical Center v. Azar, 19-1378 (D.D.C.) (BAH)
39.    Anderson Hospital v. Azar, 19-1386 (D.D.C.) (JDB)
40.    High Point Regional Health v. Azar, 19-1432 (D.D.C.) (KBJ)
41.    SSM Good Samaritan Regional Health Center v. Azar, 19-1829 (D.D.C.) (CRC)
42.    MCG Medical Center v. Azar, 19-1855 (D.D.C.) (CRC)
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43.    Whittier Hospital Medical Center v. Azar, 19-1839 (D.D.C.) (CRC)
44.    Medical Center of Mesquite v. Azar, 19-1968 (D.D.C.) (CRC)
